Case 4:24-cv-00953-P    Document 69    Filed 01/31/25     Page 1 of 1   PageID 879



                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     OUTSOURCING FACILITIES
     ASSOCIATION, ET AL.,

          Plaintiffs,

     v.                                                 No. 4:24-cv-00953-P

     UNITED STATES FOOD AND DRUG
     ADMINISTRATION, ET AL.,

          Defendants.
                                   ORDER
        On January 14, 2025, the Court held a hearing in the above
     numbered and styled case. That same day, the Court entered an order
     granting the Parties’ Joint Motion to Reopen Case and Enter Scheduling
     Order (ECF No. 38). ECF No. 62. While the Court set a briefing schedule
     in this matter, it failed to explicitly state that the case should be
     reopened. Therefore, it is ORDERED that this case be reopened by the
     Clerk of the Court in accordance with the Court’s prior order granting
     the Joint Motion to Reopen Case and Enter Scheduling Order (ECF No.
     38).

          SO ORDERED on this 31st day of January 2025.
